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                THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

VERONICA ALAINE FOX,                        *
                                            *
      Plaintiff,                            *   CIVIL ACTION FILE
                                            *
v.                                          *   NO. 1:17-cv-209-MHC
                                            *
GENERAL MOTORS LLC,                         *
                                            *
      Defendant.                            *

     PLAINTIFF’S DAUBERT MOTION TO EXCLUDE PORTIONS
        OF MICHAEL CARHART’S PROPOSED TESTIMONY

      GM designed Veronica Fox’s 2004 “ultraview” SRX to have a roof that was

made of plastic composite and glass and was attached to the roof rails of the SUV

with nothing but glue. In her rollover, the glued-on roof came completely off and

the remaining pillars and roof rails collapsed down on her, crushing her spine and

rendering her a 21-year-old quadriplegic.

      GM seeks to introduce through Michael Carhart 42 ‘tests’ to support one

argument: that roof crush does not matter in a rollover. GM contends that it should

never be held accountable for its weak roofs because supposedly people suffer their

paralyzing injuries by “diving” into the roof in the milliseconds before the roof gets
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a chance to crush all the way down to their shoulders. 1 The auto industry has tried

to peddle these ‘tests’ to regulators for decades in attempt to stave off higher roof

strength requirements.

      Nobody in the known world, however, (other than the automakers’ paid

testifiers) believes “roof crush don’t matter.” The very idea is contrary to federal

law: “The purpose of this standard [federal minimum standard 216] is to reduce

deaths and injuries due to the crushing of the roof into the occupant compartment

in rollover crashes.” 49 CFR 571.216 (S2) (emphasis added). That means, as a

matter of law, that roof crush does matter.

      That, and that alone, renders inadmissible as a matter of law every one of the

42 ‘tests’ GM and Carhart want to try to use to ‘prove’ that “roof crush don’t

matter,” just as the argument itself is. Loeffel Steel Prods., Inc. v. Delta Brands,

Inc., 387 F. Supp. 2d 794, 806 (N.D. Ill. 2005) (“expert opinions that are contrary

to law are inadmissible”).

      NHTSA—the federal National Highway Transportation Safety

Administration—has never bought the automakers’ argument, and NHTSA has

long been substantially ‘in the pockets’ of the automakers, with most of its political


1
 According to GM, roof strength only matters when something like a boulder falls
onto the roof of a car. 5/22/15 GM 30b6 Dep. 92/7-93/17.

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appointees coming from the industry and returning to the industry after their

sojourn in government.

      The independent Insurance Institute for Highway Safety (IIHS)—funded

solely by liability insurance companies—literally mocked the automakers’

nonsense.2

      Judge William P. Adams didn’t buy it. When an automaker conceded the

argument was “counter-intuitive,” he said in his view the argument “could be

described as something other than counter-intuitive.” Ex. A (8/20/13 Hatfield v.

Ford Order) at 2 (emphasis added). What Judge Adams meant seems very clear.

      Most of the ‘tests’ in Carhart’s file were created by the infamous hired-gun

firm, Exponent, Carhart’s employer. David Michaels, former assistant U.S.

Secretary of Labor for Occupational Safety and Health stated in his 2008 book,

“[w]hile some might exist, I have yet to see an Exponent study that does not

support the conclusion needed by the corporation or trade association that is paying

the bill.” DAVID MICHAELS, DOUBT IS THEIR PRODUCT (Oxford Univ. Press 2008).


2
  See Oesch, Stephen (IIHS), “Statement before the US Senate Committee on
Commerce, Science, and Transportation” (June 4, 2008) (Noting that studies
purportedly finding ‘roof crush doesn’t matter’ “defy logic, because . . . the basic
principles of occupant protection dictate that the compartment be designed to resist
intrusion. . . . There is no logical reason to assume that in a rollover crash, you
would design a vehicle to permit excessive intrusion.”).

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Exponent has authored “studies” that claim things like second-hand smoke from

tobacco does not cause cancer and shoulder-and-lap seatbelts are no safer than lap-

belt-only designs. 3

      Exponent will go to any length to defend the indefensible—including using

‘tests’ that were designed to misrepresent what happened to Ms. Fox in her

collision. It is the Court’s duty under Daubert to exclude such “tests.”

      What Exponent’s work lacks in quality, it makes up in quantity. Carhart’s

file with the 42 ‘tests’ is so enormous it was delivered via hard drive to Plaintiff’s

counsel. It is 127 gigabytes. It holds 1,935 folders and 29,703 files. Among other

things, it contains: more than 13,500 pictures of the “tests,” 495 videos, and 40

reports. In Fox I, GM listed this entire hard drive as a single exhibit. The sheer

volume of the stuff GM seeks to throw at the jury to prove a nonsensical contrary-

to-law argument is overwhelming. That is the purpose: throw enough stuff, and

maybe it will look real. It’s like modern politics.

      The truth of that statement is proved by this fact: Exponent has failed to

create a single ‘test’ that resembles the collision in this case. Of the 42 ‘tests’ in

Carhart’s file, 37 were conducted on vehicles other than the 2004 Cadillac SRX.


3
 Ex. B (“Big Companies in Legal Scrapes Turn to Science-for-Hire Giant
Exponent, Business Ethics (12/13/16)).

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None of those 37 ‘tests’ involve a roof like the 2004 SRX. None of those 37 ‘tests’

involve a seatbelt system like the one Veronica Fox was using. None of those 37

‘tests’ replicate the conditions of this wreck. Not a single one. Those ‘tests’ are

completely dissimilar from the wreck that rendered Ms. Fox a quadriplegic. Some,

for example, involve ‘tests’ on unbelted dummies, even though GM concedes Ms.

Fox was wearing her seatbelt properly. Some involve vehicles that are over 30

years old. All involve vehicles with different head clearances and roof designs.

The vast majority are litigation “testing” from other cases, done by Exponent to

defend automakers. All were supposed to model some wreck other than Ms. Fox’s

wreck. The list of differences between the 37 non-SRX ‘tests’ and the facts of this

case goes on and on.

      Of the 42 ‘tests’ in Carhart’s file, only five were done on a 2004 SRX. 4

Three SRX ‘tests’ were inverted vertical drop ‘tests’—two of an SRX with a roll

cage installed inside it, and one without.5 Plaintiff moves to exclude those three


4
  Appendix A is a list of 40 ‘tests’ from Carhart’s files. The numbering of those
‘tests’ corresponds to the numbering of the ‘tests’ on Carhart’s hard drive under the
folder “Carhart TESTING.” The Exponent FMVSS 216 test is on the hard drive in
the folder “Exponent Testing – FMVSS 216 Test.” That hard drive and the late-
produced 2006 test will be physically filed on the record under a “Notice of
Filing.”
5
 Two SRX ‘tests’ were surrogate tests. Plaintiff does not move to exclude those
two surrogate tests.

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drop “tests,” because they were conducted in exactly the opposite way that the

wreck happened, and they do not “fit” the facts of this case in any way, shape, or

form.

        GM has conceded that, in a rollover, “small changes in contact

configuration change the dynamics.” See Carhart Dep. 154/6-16 (deposition

excerpts attached as Ex. E) (emphases added). The idea that small changes make a

big difference in whether someone gets hurt in a rollover shows up over and over

in GM’s defense of this case. Id. (“[Y]ou’ve got to look at the details of the

individual crash to understand injury potential in that crash.”); Ex. C (1/18/16

GM’s 7th Interrog. Resp. at 23) (injury causation in a rollover “depends upon the

location and position of the occupant as various parts of the vehicle hit the

ground”). Obviously, if small changes make a big difference in whether someone

gets injured, any test trying to replicate those injuries must faithfully replicate all

the details of the crash. GM, however, has altered virtually every detail of Ms.

Fox’s crash in its SRX “tests.” GM’s purpose is clear: to mislead the jury.

        To show what happened to Ms. Fox in a rollover, GM dropped an SRX

vertically on its roof. It used vehicles with undamaged roofs to show how Ms. Fox

interacted with the roof that, in the actual crash, would have already been damaged

by roof crush in two prior rolls. It used an SRX with a missing roof to show how


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Ms. Fox interacted with the roof that, in the actual crash, would have been

attached. If anything should be accurate in a roof crush “test” it is the roof itself.6

Exponent used dummies that have spines that do not move or experience roof

crush forces like human spines, and it fabricated a special bracket to rig the

dummy’s head in the position Exponent wanted to get its desired result.

      Carhart’s file also contains a variety of litigation “tests,” including “Malibu I

and II” and two Controlled Rollover Impact System (“CRIS”) “tests.” Automakers

try to put these misleading demonstrations in front of juries all over the country in

every roof crush case. These ‘tests’ were designed by the automaker’s paid court

testifiers, and as described below, they are rigged to produce the result automakers

desired. These kinds of tests are “misleading” and should be (and have been)

excluded because they could “be seen [by the jury] as loosely resembling the actual

event.” Ex. A (8/20/13 Hatfield v. Ford Order) at 2.

      There are also litigation-specific ‘tests’ that Exponent performed for other

cases, a host of irrelevant ‘tests’ about the glazing of windows and ejection

potential (issues that aren’t related to Ms. Fox’s claims), and a handful of


6
 There is one detail that Exponent got right. For its surrogate “tests,” it explicitly
sought out and hired an African American to recreate Ms. Fox’s seatbelt usage. Ex.
D - 1/5/16 Email from Janine Smedley of Exponent to Karen Justice of Fieldwork
Phoenix (stating African American model is preferred).

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miscellaneous ‘tests’ that, like the others, do not “fit” the facts of Ms. Fox’s

rollover. See Ex. E, Carhart Dep. 14/9-13 (“[W]e have like an over-inclusive list. I

have a bunch of glazing material on there and I didn’t anticipate there were a lot of

glazing questions or issues, but I have them on there.”). All should be excluded.

      Plaintiff therefore moves to prevent Exponent testifier Michael Carhart from

attempting to use 40 of the 42 ‘tests’ in his file because (1) GM cannot meet its

burden to prove the ‘tests’ “fit” the facts of the case under Rules 702, 402 and

Daubert, since none of them resemble the wreck in this case, and (2) under Rule

403, any probative value that GM can articulate is vastly outweighed by the risk of

unfair prejudice and likelihood of misleading the jury. 7

I.     LEGAL STANDARD

      Neither the SRX drop testing nor the 37 ‘tests’ in non-SRX vehicles meet the

standard set out in Rule 702 and Daubert. To be admissible, evidence adduced

through experts must “help the trier of fact to understand the evidence or to

determine a fact in issue.” Fed. R. Evid. 702(a). “The consideration has been

aptly described . . . as one of ‘fit.’ ” Daubert v. Merrell Dow Pharm., Inc., 509


7
  Plaintiff also moves to exclude the FMVSS 216 test conducted by Exponent on a
2006 SRX—and all references to that test in the deposition testimony—for the
reasons articulated in Plaintiff’s Daubert motion to exclude Ewing’s testimony,
which are incorporated by reference here.

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U.S. 579, 591 (1993). “Fit” means that the purportedly scientific testimony must

have a “valid scientific connection to the pertinent inquiry.” Allison v. McGhan

Med. Corp., 184 F.3d 1300, 1312 (11th Cir. 1999) (quoting Daubert, 509 U.S. at

592). The standard for “fit,” or connection to the pertinent inquiry, is “higher than

bare relevance.” Lee v. Smith & Wesson Corp., 760 F.3d 523, 529 n.1 (6th Cir.

2014); Cotromano v. United Techs. Corp., No. 10-80840-CIV, 2018 WL 2047468,

at *14 (S.D. Fla. May 2, 2018). An expert’s opinion that does not “fit” should be

excluded. Daubert, 509 U.S. at 591, 593.

      GM, as the party seeking to introduce the expert testimony, bears the burden

of demonstrating that the testimony fits the facts of the case, and the Court’s

exclusion of expert testimony will be affirmed absent an abuse of discretion or a

“manifest injustice.” Daubert, 509 U.S. at 597; Chapman v. Procter & Gamble

Distrib., LLC, 766 F.3d 1296, 1308 (11th Cir. 2014).

      Tests and experiments can mislead the jury when “the demonstration

resembles the disputed accident” but does not meet the “substantial similarity”

requirement. Muth v. Ford Motor Co., 461 F.3d 557, 566 (5th Cir. 2006); United

States v. Gaskell, 985 F.2d 1056, 1060 (11th Cir. 1993). This is because ‘tests’ and

experiments conducted under dissimilar conditions pose “the danger of misleading

members of the jury who may attach exaggerated significance to the test.” Barnes


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v. Gen. Motors Corp., 547 F.2d 275, 277 (5th Cir. 1977).

      As a result, ‘tests’ are inadmissible unless the conditions are “so nearly the

same in substantial particulars as to afford a fair comparison in respect to the

particular issue to which the test is directed.” Burchfield v. CSX Transp., Inc., 636

F.3d 1330, 1336-37 (11th Cir. 2011) (holding that substantial similarity

requirement applied where “[t]he results of the experiment purported to coincide

with [CSX’s] theory of how the accident occurred” (quotation and citation

omitted)); see also Gaskell, 985 F.2d at 1060; Barnes, 547 F.2d at 277. The

substantial similarity requirement for ‘tests’ or experiments is related to relevance

under Rule 402. See Glick v. White Motor Co., 458 F.2d 1287, 1294 (3d Cir. 1972)

(“Experimental evidence is admissible so long as it is relevant and probative, and

such evidence has probative value if the conditions of the experiment are identical

with or similar to the conditions of the transactions in litigation.” (emphasis

added)).

      None of the ‘tests’ Plaintiff seeks to exclude are substantially similar to the

subject wreck. None “fit.” All must be excluded.

II.   ARGUMENT

      A.     Exponent’s inverted SRX drop ‘tests’ are not substantially similar
             nor do they “fit” the facts of this case.

      As GM has admitted, even “small changes in contact configuration change

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the dynamics” in a rollover. See Ex. E, Carhart Dep. 154/6-16 (emphases added).

Therefore, if GM wants to test what happened to Veronica Fox in her rollover, it

must avoid even “small changes” that could “change the dynamics” in a rollover.

Virtually nothing about the Exponent drop “tests,” however, is the same—or even

substantially similar—to GM’s own (incorrect) version of what happened in Ms.

Fox’s wreck. These drop ‘tests’ must therefore be excluded.

      In May 2016, Exponent performed three “drop tests” on two 2004 Cadillac

SRXs with an “ultraview” roof: two ‘tests’ on an SRX with a roll cage installed

inside, and one “test” on an SRX without a roll cage installed. The Exponent

litigation ‘tests’ consisted of turning the SRX upside down, raising it to a specific

height, and then dropping it straight down onto a concrete floor covered with a

sheet of plywood, with an instrumented Hybrid III test dummy rigged into an

artificial position in the driver’s seat. Exponent choose 10 inches to simulate the

first roll and 24 inches to simulate the third roll. Carhart Dep. Ex. 201 (Expert

Report) at 29-30 (excerpts attached as Ex. F).

             1.     The Third Roll

      Explaining what Exponent did in these rigged tests requires discussing the

collision backwards—because Exponent did the “testing” in a manner that was

opposite of how the collision occurred.


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       The first two ‘tests’ were supposedly a recreation of the third roll in Ms.

Fox’s wreck. Exponent dropped two production versions of the SRX—one with a

roll-cage installed to allegedly recreate what would have happened to Ms. Fox if

the SRX had had a stronger roof, and one without a roll cage. This non-roll-caged

vehicle was supposed to recreate what happened to Ms. Fox in the actual rollover

with the weak roof. The purpose of the test is to show no matter how strong GM

made the roof, she would still get her injury—in other words, “roof crush don’t

matter.” See Ex. E, Carhart Dep. 302/3-13 (describing purpose of ‘tests’). 8

       This setup has no “fit” with the rollover it purports to simulate. First, the

movement of the car itself is the opposite of the movement of Ms. Fox’s actual

SRX. Ms. Fox’s SRX rolled in a circle; Exponent’s SRXs fell down in a straight

line. Obviously, if GM wants to recreate what happened to Ms. Fox in a rollover,

the only substantially similar test is one that at the very least includes a roll. 9


8
  Ironically, the ‘tests’ show the opposite—a stronger roof reduced the force on the
dummy’s spine. In the two third-roll “tests,” the dummy in the roll-caged roof
experienced roughly 140 lbs. less force than the dummy in the non-roll-caged roof.
Ex. E, Carhart Dep. 309/2-310/14. But proving that will require a virtual mini-
trial.
9
  Drop tests, of course, can have some usefulness. Plaintiff, for example, uses
them to demonstrate the difference in roof crush for a production roof and a
reinforced roof under the same conditions. The problem with what GM has done is
that it purports to show what happened to Ms. Fox and how she got her injury
using a false recreation of the wreck.

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      Second, the roof of the Exponent vehicles are completely different than the

roof of Ms. Fox’s car during the third roll. Ms. Fox’s SRX had experienced two

roof-to-ground impacts by the time it began the third roll. One was such a hard

impact that it left a large furrow in the dirt that was still there five months after the

wreck. In fact, even Carhart admits that Ms. Fox’s roof was damaged before the

third roll began. See Ex. E, Carhart Dep. 261/15-262/2. Yet, in Exponent’s version

of reality, the third roll is recreated with roofs that are perfectly undamaged. That

alone is enough reason to exclude Exponent’s “test.”

      After Exponent dropped the roll-caged SRX one time, the roof came off.

Ex. E, Carhart Dep. 289/18-290/1. In other words, one roof-to-ground impact

ripped the roof completely off, even in Exponent’s “testing” in a laboratory. That

not only illustrates how terrible the glued-on glass and plastic SRX roof is—it also

illustrates that after two rolls the SRX roof will be completely different from an

undamaged roof—GM’s own evidence shows the roof is probably entirely gone.

      Obviously, if GM wants to recreate how Ms. Fox interacted with the roof,

one thing that should be substantially similar is the roof itself. Exponent’s attempt

to show the jury how Ms. Fox interacted with a severely damaged roof by using an

SRX with a pristine roof does not “fit” the case at all—it is not even vaguely

similar.


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         Third, the Exponent drop ‘tests’ have another major dissimilarity problem:

the use of Hybrid III dummies. Even the industry experts who concoct “roof crush

don’t matter” demonstrations admit that the forces dummies measure in drop ‘tests’

do not represent the actual forces that humans experience in rollover wrecks. See,

e.g., Ex. E, Carhart Dep. 309/8-11 (“Q: Do you believe that Veronica Fox’s

thoracic spine experienced 967 pounds of force? A: No. I think her back broke

before the load rose to that level.”).

         GM designed these dummies in the early 1970s to test for frontal impacts.

5/22/15 Lu Dep. 191/25-192/6 (excerpts attached as Exh. G). GM’s expert agrees

that the necks of Hybrid III dummies are not like human necks. Ex. E, Carhart

Dep. 279/8-13. The author of the original CRIS test even acknowledged that “[i]t

was not intended in these rollover tests to make a judgment whether the forces

recorded by the dummy instrumentation were representative of certain injury levels

to humans.” (Moffatt, E.A. et al., “Matched Pair Rollover Impacts of Rollcaged

and Production Roof Cars Using the CRIS,” SAE 2003-01-0172) at GRCC 0030

(attached as Ex. H). That is because Hybrid III dummies necks are stiffer in

compression than human necks. “Compression” refers to the kind of force that

pushes down on the spine from the top and compresses the vertebrae together.10


10
     Carhart claimed at his deposition that Hybrid III dummies are “pretty decent” in

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That stiffness matters because the dummy’s head doesn’t move or flex in a way

that reduces force on the spine like a human would—and that in turn artificially

drives up the force measurements on the dummy, making them inaccurate

representations of force on a human under the same conditions.

      Because dummies don’t move in compression like a human does, Exponent

“fabricated a bracket” so that it “could get the dummy into a chin to chest type

orientation.” Ex. E, Carhart Dep. 294/15-295/4; id. at 296/8-10 (he needed the

fabricated bracket to “allow[] the dummy’s neck to flex more”). The seatbelt in

these third roll tests was also “slipped” on the dummy, to get the dummy as close

as possible to the roof, and therefore drive up the force on the dummy’s spine.

      Even “small changes” affect how a person moves in a rollover. See Ex. E,

Carhart Dep. 154/6-16. These “third roll” ‘tests’ have huge differences from Ms.

Fox’s wreck. They are not substantially similar, and they must be excluded.

             2.    The First Roll

      After Exponent dropped the SRXs from a height of two feet, it did a very




compression. Ex. E, Carhart Dep. 273/5-11. But the paper by Nightingale that he
claims supports his conclusion states the opposite: “The Hybrid III neck form is
stiffer along its axis than the cervical spine.” Nightingale, R.W., et al., The
Influence of End Condition on Human Cervical Spine Injury Mechanisms, SAE
Paper No. 912915 (1991).

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strange thing. It conducted a third “drop test,” from 10 inches, to recreate what

happened to Ms. Fox in the first roll—but it used the roll-cage SRX that had

already been dropped and was missing the roof.

      This “test” of the first roll conditions suffers from even worse “fit” problems

under Rule 703 than the prior two “tests.” First, this SRX was dropped straight

down; that cannot show the jury how Ms. Fox would have interacted with the roof

in a rollover.

      Second, the roof of the roll cage vehicle had been torn completely off as a

result of the prior 24-inch drop “test.” It bears repeating that the “test” we are

discussing was supposed to show how Ms. Fox would have interacted with a

stronger roof during the first roof-to-ground impact. At the first roof-to-ground

impact, Ms. Fox’s SRX obviously had an undamaged, intact roof. Yet, by the time

Exponent “tested” what happened to Ms. Fox in

the first roll, the “test” vehicle had no ultraview

roof at all. Seeing is believing. See

Carhart Inverted SRX Drop Test Rpt. at 117

(available on Carhart Dep. Ex. 202, excerpts

attached as Ex. I).

      This is a roof defect case. If you are going to honestly test interaction with


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the roof, then the roof should be on the vehicle.11 Yet Exponent claims that the

absence of the roof in the “test” does not matter. Ex. E, Carhart Dep. 288/19-25.

This is the kind of junk science Exponent and GM will feed the jury if they are

permitted to do so.

      GM will argue that the reason the missing roof doesn’t matter is because

Exponent positioned the dummy’s head to hit the roof rail instead of the gaping

hole where the roof used to be. That, however, brings us to the third problem:

Exponent pre-positioned the dummy to get the result it wants. Exponent

positioned the dummy’s head “against the pinched flange of the driver’s door.”

Ex. E, Carhart Dep. 288/11-15. But Veronica Fox’s head was not pre-positioned in

any way. If GM wants to show the jury a “test” that reflects what happened to

Veronica Fox, it must do so by creating substantially similar conditions to the

wreck—not by rigging the test and dummies to get a pre-ordained result.

      Fourth, Exponent did no “first roll” vertical drop of an SRX without a roll-

cage to provide a comparable. The lack of a control test is egregious in this case

because even according to defense experts, Hybrid III dummies are only useful as



11
  Carhart actually admitted this in his sworn deposition: he “thought it important
that the roof panel be intact [during the ‘tests’ of the first roll] because our crash
indicates that it was intact.” Ex. E, Carhart Dep. 288/19-25.

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a comparison with a control that can be used as a baseline. See supra 14-15. But

there are no baseline injury scores for a dummy in the production SRX to which

the jury could compare injury scores for the roll-caged SRX. Thus, the dummy’s

instrumentation readings in the reinforced SRX mean nothing. The whole

GM/Exponent gambit is indisputably illegitimate.

      Tellingly, Exponent never tested the production SRX with a dummy in the

“diving” position GM claims Ms. Fox was in during the first roll. It only tested

the “diving” position in the reinforced SRX. That means GM paid Exponent over

a hundred thousand dollars to crash SRXs and has no test to support its defense—

that Ms. Fox was paralyzed before the roof crush occurred.

             3.     These ‘tests’ Must Be Excluded

      The Fifth Circuit has addressed the level of similarity required to introduce

testing that attempts to recreate a rollover. In Muth v. Ford, 461 F.3d 557 (5th Cir.

2006), Ford argued that the district court erroneously excluded videos and

photographs from crash tests that supposedly illustrated the biodynamics of a

rollover. According to Ford, the conditions of the roll were “very close to the

conditions of the [crash] tests,” both with respect to the roll itself and the position

of the dummies. Muth v. Ford, Reply Br. of Ford, 2005 WL 6075031, at *22-23.

“Ford characterized the CRIS test as essentially depicting Ford’s theory of the


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accident.” 461 F.3d at 567. Even under those circumstances, the Fifth Circuit

upheld the district court’s exclusion of the tests.

      The Eleventh Circuit has also held that if a test or demonstration is not “so

nearly the same in substantial particulars as to afford a fair comparison” to the

subject incident, the admission of the test or demonstration necessitates reversal.

Gaskell, 985 F.2d at 1060. In Gaskell, a criminal defendant was convicted of

having injured an infant by shaking her, and the government’s expert witness

demonstrated the principle of shaking before the jury by using a doll. The doll’s

neck was not biofidelic, however, because it “was stiffer than that of a seven-

month-old infant.” Id. The defense cross-examined the government’s expert about

the lack of biofidelity, that expert admitted the discrepancy, and the district court

instructed the jury on the dissimilarity between the doll’s neck and an infant’s. Id.

at 1060-61. On appeal, the Eleventh Circuit held that the cross-examination and

jury instruction were insufficient and reversed the conviction. Id. at 1061-62.

      GM proposes to combine the infirmities rejected in Gaskell and Muth: a

dummy with a non-biofidelic spine to demonstrate Ms. Fox’s spinal injuries and

test conditions that are different from Ms. Fox’s wreck. As in Gaskell, the

Exponent “drop tests” are not “so nearly the same in substantial particulars as to

afford a fair comparison.” Id. at 1060. Therefore, the “drop tests” (tests nos. 31


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and 32) should be excluded.

      Those dissimilarities are the result of Exponent’s deliberate choice not to

design a test to actually replicate the events of this wreck. Exponent chose to

conduct drop ‘tests’ in the order exactly opposite of what happened to Ms. Fox.

The jury could easily be confused and misled into believing that these ‘tests’

accurately represent what happened in the wreck, even though they plainly do not.

Of course, that is GM and Exponent’s objective.

      B.     Dissimilar ‘tests’ on different vehicles should be excluded.

      By GM’s own admission, injury causation in a rollover “depends upon the

location and position of the occupant as various parts of the vehicle hit the

ground.” Ex. C, 1/18/16 GM’s 7th Interrog. Resp. at 23. ‘Tests’ using a

methodology in which a dummy is in a different location with a different restraint

system and a different position inside a different roof that is hitting the ground at

different points simply do not “fit” and are irrelevant to what caused Ms. Fox’s

injury in this case. GM cannot credibly deny that, because GM itself has already

admitted that injury causation in a particular rollover depends on all these things.

      Because these dissimilar and irrelevant ‘tests’ fail the “fit” requirement of

Rule 702 and Daubert, they must be excluded. See Daubert, 509 U.S. at 591-92.

These ‘tests’ should also be excluded under Rule 402 because they are not


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substantially similar to Ms. Fox’s rollover.

      C.     The “Malibu” experiments do not satisfy the “fit” requirement of
             Rule 702 and Daubert and are not substantially similar to Ms.
             Fox’s rollover.

             1.     Description of the Malibu Experiments

      Three decades ago, in the 1980s, GM sponsored and conducted two series of

rollover experiments using the 1983 Chevrolet Malibu, a midsize four-door sedan.

Both series of experiments, commonly called Malibu I and Malibu II, included

eight dolly rollover “tests.” Both Malibu I and II featured four cars with

production roofs and four cars with roll-cage-reinforced roofs. For these ‘tests’, a

1983 Malibu was placed in a dolly, accelerated along a track to 32 mph, and then

launched into the air when the dolly abruptly stopped. After landing, the cars

rolled several times. The dolly rollover test was chosen not because it mimics real-

world rollovers but rather because it is repeatable.12

      Malibu I was conducted in 1983 and reported in a 1985 paper published by

two GM employees and Edward Moffatt, a former GM employee. GM hopes to

present Moffatt as another of its expert witnesses. The Malibu I experiments



12
  Kenneth F. Orlowski, R. Thomas Bundorf & Edward A. Moffatt, Rollover Crash
Tests—The Influence of Roof Strength on Injury Mechanics, SAE Paper No.
851734 (1985), at 182. Orlowski left GM and became a full-time testifying expert
for automakers.

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featured two unrestrained Hybrid III 50th-percentile male dummies in the front

seats. The cars launched from the dolly in Malibu I rolled between 2 and 3½

times. The unbelted dummies were predictably thrown around inside the 1983

Malibu.

      Malibu II was conducted in 1987 and reported in a 1990 paper published by

four current GM employees and two former GM employees, Kenneth Orlowski

and Moffatt.13 These dolly rollover “tests,” unlike those in Malibu I, featured two

restrained Hybrid III 50th-percentile male dummies seated in the front seats. The

dummies were restrained using the 1980’s-era seatbelt that came in the Malibu,

which bears no resemblance to the seatbelt in Ms. Fox’s 2004 SRX. Once the

dummies were belted in the car, GM then added 1 inch of slack to the seatbelt.

      Malibu II also included four drop tests using 1983 Malibus: two with

production roofs and two with roll-cage-reinforced roofs. For each test, a Hybrid

III 50th-percentile male dummy was seated in the front seats. Two ‘tests’ (one of

each roof type) were run with restrained dummies, and two ‘tests’ were run with

unrestrained dummies. All four cars were hoisted 12 inches off the ground—a



13
  Ex. J, G.S. Bahling, R.T. Bundorf, G.S. Kspzyk, E.A. Moffatt, K.F. Orlowski,
J.E. Stocke, Rollover and Drop Tests—The Influence of Roof Strength on Injury
Mechanics Using Belted Dummies, SAE Paper No. 902314 (1990).

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concrete floor covered by a sheet of plywood. The cars were then rolled 20

degrees to ensure that the driver side was closer to the ground and thus would hit

first. The cars were then dropped.

           To compare the performance of the production and roll-cage-reinforced

roofs in both Malibu I and II, GM made up a measurement called “potentially

injurious impact” (PII). GM defined PII as any impact to the dummy’s head

causing a neck axial compression load of at least 2000 N. 14 GM admitted that

PII—its made-up measurement—did not indicate or correspond to any particular

injury; rather, it was for comparison purposes only. 15 This is crucial, because

GM’s experts plan on telling the jury that if the force on the dummy reaches the

made-up PII measurement, then that means a person in the dummy’s seat would

have received a serious injury. That is obviously false.

           The problem, however, is that GM set the PII threshold so that every Malibu

launched from a dolly showed “potentially injurious impacts,” regardless of

whether the car had a production or roll-cage-reinforced roof or how much roof

crush occurred. That was GM’s intent—so it could proclaim roof strength doesn’t

matter in a rollover. Setting aside GM’s arbitrary PII threshold, the results GM’s


14
     Id. at 105.
15
     Id.

                                            23
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experiments show roof crush did matter. The neck loads in cars with stronger

roofs were almost 40 percent less than in cars with weaker roofs. Reality, however,

is no barrier—GM will tell the jury this junk science proves its defense.

             2.    Comparison to Ms. Fox’s rollover

      Ms. Fox’s wreck is substantially different than the Malibu experiments in

almost every material way. A short list of these differences between the Malibu

‘tests’ and Ms. Fox’s rollover includes:

        The cars were built in different centuries.

        The cars are in different classes—one is a sedan and one is an SUV—and
         have different weights, dimensions, and centers of gravity.

        The roof—i.e., the defective product—is totally different. The Malibu had
         a welded-on steel roof; Ms. Fox’s 2004 SRX had a glued-on glass and
         plastic roof.

        The speed of the ‘tests’ is different from Ms. Fox’s wreck;

        The number of rolls and the distance traveled during many of the ‘tests’
         were different than Ms. Fox’s wreck.

        In the Malibu I experiments, the dummies were unrestrained. Ms. Fox
         was wearing her seatbelt properly at the time of her wreck.

        In the Malibu II experiments, the dummies were restrained using the
         1980’s seatbelt that was anchored to the B-pillar in the Malibu. The 2004
         SRX had the much advanced “all belts to seat” (ABTS) seatbelt design,
         where the belt was mounted directly into her seatback. That design was
         created to keep people in their seats, and it allowed less excursion from
         the seat than a pillar-mounted belt like that in the Malibu.

        Ms. Fox’s ABTS design also did not have a tension relieving device that

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           would have allowed slack in the seatbelt system; the belts in the Malibu II
           experiments did.

          In Malibu II, Moffatt and his collaborators deliberately pulled out an extra
           inch of slack to make it easier for the dummies to get out of the seats.
           (Sound “rigged”? It was.) In contrast, everyone agrees Ms. Fox was
           properly wearing an entirely different seatbelt, without any extra slack.

      GM knows that small differences in a rollover can make big differences in

the outcome, because they have said it over and over in this case. The differences

in the cars alone are enough to exclude this evidence. The roofs are different and

would crush differently; the cars weigh different amounts, and would move

differently; and the restraints are different, and would allow occupants to move

differently. On top of all this, there are huge differences in the wreck conditions.

      Obviously these ‘tests’ cannot be used to show what happened to Ms. Fox in

her rollover. The Malibu experiments are irrelevant, confusing, fail Rule 702 and

Daubert’s “fit” requirement, and should be excluded.

      D.      The CRIS experiments do not satisfy the “fit” requirement of
              Rule 702 and Daubert and are not substantially similar to Ms.
              Fox’s rollover.

              1.     Description of the CRIS experiments

      In the early 2000s, Ford paid Exponent, Carhart’s employer, millions of

dollars to design a tractor-trailer apparatus to perform the original “Controlled

Rollover Impact System” (CRIS) experiments. Representatives from Ford’s legal



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department were involved in the planning stages of the original CRIS experiments.

Orlowski Dep. 31/21-32/6 (excerpts attached as Exh. K). The original CRIS

experiments, which featured a 1998–2000 model Ford Crown Victoria, took place

at Exponent’s private test facility with the participation of Ford employees. Id. at

50/12-24.

      In the CRIS experiments, a test car

is hoisted into the air and suspended

behind a tractor-trailer—just how high

varied from test to test. Next, the test car

was spun along its longitudinal axis like a

rotisserie chicken until it reached some predetermined roll rate. Finally, the test car

is dropped while the tractor-trailer was moving at some desired speed.

      After numerous courts across the country have excluded the photographs

and videos of the original CRIS “tests,”16 Carhart has abandoned any effort to



16
  See, e.g., Muth v. Ford Motor Co., 461 F.3d 557, 565-67 (5th Cir. 2006)
(affirming trial court’s exclusion of the photos and videos from the original CRIS
testing); Shipp v. Gen. Motors Corp., 750 F.2d 418, 427 (5th Cir. 1985) (affirming
exclusion of Malibu I ‘tests’); Pannu v. Land Rover N. Am., Inc., 120 Cal. Rptr. 3d
605, 623 (Cal. Ct. App. 2011) (holding exclusion of Malibu and CRIS ‘tests’ not an
abuse of discretion); 12/15/17 Order, Hill v. Ford Motor Co., No. 16-C-04179-S2
(excluding Malibu and CRIS ‘tests’); 8/20/14 Order, Hatfield v. Ford, (same).

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testify about them here. Instead, he hopes to introduce something worse: two

litigation CRIS ‘tests’ performed almost a decade ago for different cases litigated

by a law firm in Miami, Florida.17 Unsurprisingly, Exponent performed both

“tests.” One test (no. 12) involves a 2005 Volvo XC90. The other test (no. 13)

involves a 1996 Isuzu Rodeo with a modified roof.

      Exponent ensured that the test cars in the CRIS experiments would strike the

ground nearest to the dummies’ heads before anything else struck the ground. The

CRIS fixture spun each car at least 25 times before the car was dropped from a

predetermined height and at a specific roll rate while the tractor-trailer was moving

at a set speed. Because of Exponent’s setup, each car struck the ground after

rotating more than 180 degrees from right-side-up (i.e., rotated upside down and

then some).

      In both CRIS experiments, Exponent changed the weight and the distribution

of that weight across the car. The devices attached to the test cars to allow the

CRIS fixture to “grasp” and spin them and all the recording equipment Exponent

installed drastically increased the test cars’ weight. To try to counterbalance these

additions, numerous standard features had to be removed. For example, Exponent


17
 That law firm (then known as Seipp & Flick LLP, later Seipp, Flick & Hosley
LLP) has merged with Bowman and Brooke LLP—GM’s law firm in this case.

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removed the following from the 2005 Volvo XC90: both bumpers, engine and

interior trim components, front passenger and rear seats, roof rack, headliner, fuel

tank, and spare tire components. Volvo XC90 Rpt. at 25 (excerpts attached as Ex.

L). In the 1996 Isuzu Rodeo, Exponent removed both bumpers, “miscellaneous”

engine and interior trim parts, front passenger and rear seats, fuel tank, front brake

calipers and rotors, and spare tire components. Isuzu Rodeo Rpt. at 18 (excerpts

attached as Ex. M).18 Even after removing these parts, Exponent’s modifications

made both cars about 200 pounds heavier.

      Now for the specifics about each test. For the Volvo XC90 test, Exponent

took great pains to position the dummy seated in the driver seat, a Hybrid III 50th-

percentile male, with just 1.5 inches of vertical head clearance after adjusting the

seat to its “full up position.” Exponent buckled the dummy into the seat and then

added 1.9 inches of slack to the seatbelt. The seatbelt was clamped in place to

keep it from retracting as designed, and tape was affixed to the dummy’s shoulder

to keep the belt from slipping off. Exponent strapped the dummy in place with

cables that were not released until the car’s roof was 3 inches from striking the



18
  Exponent also modified the roof of the Isuzu Rodeo, installing modified A-
pillars, header, and roof structures. Ex. M, Isuzu Rodeo Rpt. at 18. As a result, the
Rodeo, like the XC90, was also missing the original headliner and roof rack.

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ground. This method of holding a dummy’s head in place during a CRIS test is

supposed to “stick the landing” so the test will allow for a head strike exactly

where the tester wants it. See, e.g., Muth v. Ford, 12/07/04 morning trial tr. 111/4

(testimony of the author of the original CRIS test) (excerpts attached as Ex. N).

Once attached to the CRIS fixture, the 2005 Volvo XC90 was raised 10.8 inches

off the ground. The fixture then spun the car over and over again at a roll rate of

224 deg./sec. as the tractor-trailer reached a speed of 7.7 mph on Exponent’s

private test track. After the fixture reached Exponent’s specially designed drop

area, the XC90 was released. After striking the ground, the car rolled only a

quarter turn.

      For the 1996 Isuzu Rodeo test, Exponent made many modifications to the

standard A-pillars, headers, and roof structures. The modified roof did not contain

a headliner. Unlike the XC90 test, the vertical head clearance of the dummy in the

driver seat was not noted, so neither the Court, nor the jury, nor Plaintiff could

know what it was. Exponent put the seat as far forward on the seat track as it

would go, reclined the seat 57 degrees from horizontal, and buckled the dummy in

the seat. The dummy was then held in the place where Exponent wanted it with a

“harness” made from nylon strap that wrapped the dummy’s chest and pelvis.

      Once attached to the CRIS fixture, the 1996 Isuzu Rodeo was raised 18.9


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inches off the ground. The fixture then spun the car repeatedly at a roll rate of 317

deg./sec as the tractor-trailer reached a speed of 37.4 mph. After the fixture

reached Exponent’s specially designed drop area, the Rodeo was released. After

striking the ground, the car rolled 26 quarter turns, or 6½ times.

      Even though the dummies were seated in the driver seat, Exponent used

dummies with standing pelvises—because that made them more likely to slip out

of the lap belts. Ex. L, 2005 Volvo XC90 Rpt. at 4 (describing the Hybrid III

dummy as having a “pedestrian pelvis”); Ex. M, 1996 Isuzu Rodeo Rpt. at 4

(same).

             2.     Comparison to Ms. Fox’s rollover.

      Ms. Fox’s wreck is substantially different than the CRIS experiments GM

wants to use in almost every material way. The defective 2004 Cadillac SRX at

issue in this case has almost nothing in common with either the 2005 Volvo XC90

or the 1996 Isuzu Rodeo, and the roll conditions are radically different:

         The roofs—i.e., the defective product—are different: the Rodeo had a
          modified (meaning fortified) welded-on steel roof; the XC90 features a
          welded-on steel roof with a SWR of 4.6. Ms. Fox had a glued-on glass
          and plastic roof with a roof that was nowhere near that strength.

         The cars have different weights, dimensions, centers of gravity, and head
          clearances.

         In Exponent’s XC90 CRIS test, Exponent intentionally introduced slack
          into the seatbelt system and had to tape the seatbelt to the dummy’s


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         shoulder. Ms. Fox was wearing her seatbelt properly; it was not taped to
         her shoulder.

        In Exponent’s CRIS experiments, the Hybrid III dummies were strapped
         into their seats with either a harness or cables to ensure that they stayed
         right were Exponent wanted them; Exponent did not untether the
         dummies until the last possible moment before the test car hit the ground.
         Ms. Fox was not strapped into her car with anything other than a properly
         fastened seatbelt.

        In Exponent’s CRIS experiments, dummies with “standing” pelvises were
         used. Ms. Fox was seated.

        In Exponent’s CRIS test, the spinning cars were dropped on the test
         ground at speeds of 7.7 mph (XC90) and 37.4 mph (Rodeo). Ms. Fox’s
         rollover began at a higher speed.

        In Exponent’s CRIS experiments, the dropped cars experience either 1
         quarter turn (XC90) or 6½ full turns (Rodeo). Ms. Fox’s rollover was 4
         rolls.

        In Exponent’s CRIS experiments, spinning cars were dropped from the
         back of a tractor-trailer. Ms. Fox’s wreck involved a car that swerved,
         tripped, and rolled.

        In Exponent’s CRIS experiments, the headliners of the cars were
         removed. The headliner in Ms. Fox’s SRX was one of the surfaces that
         she hit.

        The cars were made by different manufacturers, and built at different
         times (the Rodeo was built in a different century; the Volvo was built after
         the SRX).

      The dissimilarities between the CRIS experiments GM wants to use in this

case and Ms. Fox’s rollover are overwhelming. Those experiments are irrelevant,

not substantially similar, and do not “fit” the facts of this case.


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      E.     The other rollover-related ‘tests’ in Appendix A do not “fit” or are
             not substantially similar as the wreck in this case.

      In addition to the CRIS experiments, Appendix A contains several more

litigation-specific ‘tests’ performed for law firms—often Bowman and Brooke,

GM’s law firm in this case. Carhart admitted during his deposition that Appendix

A included many ‘tests’ that are irrelevant to this case, yet GM refused to agree to

stipulate that it would not try to introduce them—perhaps in the hopes the Court

will “split the baby”—excluding the worst of Carhart’s file and leaving those tests

that GM cares about the most (CRIS, Malibu, and its dissimilar SRX testing).

Exclusion of these “tests,” however, is not a close call—so in the interest of

brevity, Plaintiff will not recount all their differences with Ms. Fox’s wreck.

      Six ‘tests’ (nos. 1-6) are Malibu-type experiments created to defend

automakers in different cases. Like the Malibu and CRIS “tests,” these are unlike

Ms. Fox’s rollover both in terms of the car’s specifics and the facts of the rollover.

      Other litigation ‘tests’ involve a so-called vehicle spin demonstration (nos.

35, 36). For these “tests,” non-SRX vehicles are chopped up so that they would fit

on a “spin fixture.” Exponent used standing pelvises on the dummies (Ms. Fox

was not standing) and wired their heads in place (Ms. Fox’s head was not wired),

altered the stature in one case, and spun them to roll rates much higher than those

experienced by Ms. Fox in this case. If a confused jury concluded this test

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replicated the wreck or Ms. Fox’s movement, it would indisputably be wrong.

      Another “test” (no. 39) is supposed to show that the Hybrid III dummies

Exponent used in the SRX drop tests are biofidelic. But Exponent dropped

dummies in its SRX ‘tests’ on their heads—and “test” no. 39 has nothing to do

biofidelity in a drop test. In fact, the paper specifically states it assesses only the

biofidelity of dummies before the vehicle begins to “trip”—which is before the roll

begins.19 There was no trip in Exponent’s “test,” so no. 39 doesn’t “fit” the facts of

this case. GM wants to use this irrelevant material to convince the jury that the

dummies are biofidelic when the roof is crushing down on them. That is false.

      Two other litigation ‘tests’ that should be excluded are called steering

induced rollover ‘tests’ (nos. 37-38). These ‘tests’ involve one car, a 2012 Toyota

Camry, and one truck, a 2012 Toyota Tundra. Neither the vehicles nor the wreck

conditions are substantially similar to this case. These ‘tests’ should be excluded

for lack of substantial similarity and potential to confuse or mislead the jury.

      There are three rollover ‘tests’ that did not fit neatly within one of the earlier

categories (nos. 7-9). Each test involves a car or truck that is not substantially



19
  Gary T. Yamaguchi, et al., Electromyographic Activity and Posturing of the
Human Neck During Rollover Tests,” SAE Paper No. 2005-01-0302 (2005), at 8
(contained in the test 39 folder in Carhart Dep. Ex. 202).

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similar to the 2004 SRX and rollovers that are dissimilar from the November 2013

wreck that left Ms. Fox paralyzed. These ‘tests’ thus fail Rule 702 and Daubert’s

“fit” requirement, risk confusing or misleading the jury, and are irrelevant under

Rule 402.

      Almost half of Carhart’s ‘tests’ relate to window glazing or ejection (nos. 14-

30, 40). These ‘tests’ should be excluded because window glazing and ejection are

not at issue. Carhart also identified a 2006 test in the last 24-hours of discovery.

First, it should be excluded because its designation was untimely. See generally

7/31/18 Pl.’s Motion to Strike. Second, it should be excluded because it is

dissimilar to the wreck in this case. A disembodied dummy head was pushed onto

a door frame of a different vehicle for a different case over a decade ago.

      The truth seems apparent: GM has engaged in an unbridled offloading of

clearly irrelevant or dissimilar ‘tests’ in the hopes that some will get through the

Daubert barrier, or if not, that GM will have something to fuss about on appeal.

      F.     All these dissimilar ‘tests’ will confuse the jury.

      GM will undoubtedly argue that Carhart’s non-SRX testing is offered to

explain “general scientific principles” and is thus admissible without a showing of

substantial similarity. There are at least three problems with that argument. First

and most importantly, the idea that GM wants to introduce rollover ‘tests’—but


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doesn’t want the jury to conclude what happened in those rollover ‘tests’ happened

to Veronica Fox—requires total suspension of disbelief. It defies common sense

and basic deductive thinking to even suggest it. The State Court of Gwinnett

County recently addressed the same argument by an automaker and easily

dismissed it. Ex. O, (12/15/17 Order Excluding All Evidence, Defense, Argument,

or Reference to “Malibu” and “CRIS” testing, Hill v. Ford, No. 16-C-04179-S2) at

2. That court held that if an automaker truly wanted to demonstrate a “scientific

principle,” it could do so with “countless other demonstrative methods” that would

not confuse the jury. Id.

      Second, almost every single one of these ‘tests’ were created for litigation.

They are not designed to illustrate “general scientific principles”—they were

designed to illustrate an automaker’s defense in those cases. They have no

relevance to this case.

      Third, in the unlikely event someone were to believe that GM was being

honest and really wanted to just illustrate “general scientific principles,” the ‘tests’

should nonetheless be excluded under 403. As courts have held, this kind of

testing can be confusing and unduly prejudicial because the testing appears to

recreate the subject rollover wreck. “The more troublesome cases . . . are ones like

this one where some principles of some kind may be demonstrated but in a fashion


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that looks very much like a recreation of the event that gave rise to the trial.”

Muth, 461 F.3d at 566. The Hill court analyzed the Malibu and CRIS experiments

under Rule 403 and found:

      Introduction of the “CRIS” and “Malibu” tests, however, would
      present a real likelihood of issue confusion, given the manner of
      testing. These complex tests could easily be construed by the jury as
      suggestive and advocative of a desired outcome of this issue, rather
      than merely demonstrative of basic scientific principles. The Court
      finds that these two tests, perhaps not to the extent of being something
      other than counterintuitive, are certainly more prejudicial than
      probative.

Ex. O (12/15/17 Order, Hill v. Ford, No. 16-C-04179-S2) at 3 (citation omitted).

      In Gladhill v. General Motors Corp., 743 F.2d 1049, 1051-52 (4th Cir.

1984), for example, the plaintiff was injured because the brakes in a General

Motors car allegedly locked up under only slight pedal pressure. At trial, GM

introduced a brake test conducted on flat, straight surface with an experienced

driver, whereas the subject wreck had occurred on a downhill, curving surface with

a lay driver. Following a defense verdict, GM contended on appeal that the test

had been properly admitted, although the test conditions were not substantially

similar to those of the wreck. GM argued that “the test was not a re-enactment of

the accident but rather a demonstration” of the vehicle’s operating characteristics.

Id. at 1051. In reversing the district court, the Fourth Circuit expressly rejected

GM’s argument. Id. at 1051-52. The court held that even if the purpose of the test

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was “to illustrate a principle” rather than re-enact the wreck, the subject wreck was

“so different from this test as to make the results [of the test] largely irrelevant if

not misleading.” Id.

      In Chase v. General Motors Corp., the plaintiff was injured because of

allegedly defective brakes. 856 F.2d 17, 18 (4th Cir. 1988). The district court

allowed the introduction of a brake test in which the surface conditions, ambient

temperature, steering inputs, and brake inputs differed from those of the subject

wreck. On appeal, the proponent of the brake test contended that the ‘tests’ had

been properly admitted, but the Fourth Circuit rejected its argument. The Fourth

Circuit concluded that “[i]t is possible to call almost any evidence of this type ‘a

demonstration to illustrate a principle,’ but when the demonstration is a physical

representation of how an automobile behaves under given conditions, those

conditions must be sufficiently close to those involved in the accident at issue to

make the probative value of the demonstration outweigh its prejudicial effect.” Id.

at 19 (emphasis added) (quoting Gladhill, 743 F.2d at 1052). The Fourth Circuit

reversed, ordering that on retrial “not only will the videotapes be excluded but also

the NHTSA test results and testimony obtaining thereto.” Id. at 20.

      In Finchum v. Ford Motor Co., 57 F.3d 526, 530 (7th Cir. 1995), the Seventh

Circuit upheld the district court’s exclusion of dynamic sled tests. The court noted


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that in the crash test, the dummy was not restrained in the same manner as those

injured in the wreck. In the wreck, the vehicle’s occupants were belted, but in the

crash test, the dummies were not. Accordingly, the dummies moved about the

car’s interior in a manner unrepresentative of the wreck. The court held that the

district court did not abuse its discretion in excluding this evidence. As the

Seventh Circuit noted, “[t]he sled test was just similar enough to the [subject]

accident to confuse the jury and leave jurors with the prejudicial suggestion that

the [plaintiffs’ bodies] flipped over backwards during the crash.” Id.20

      This Court should reject, as have many other courts, the argument that



20
   See also Weaver v. Ford Motor Co., 382 F. Supp. 1068, 1071-73 (E.D. Pa. 1974)
(excluding testing based on insufficient similarity between test conditions and
actual conditions), aff’d without opinion, 515 F.2d 506 (3d Cir. 1975); Hall v. Gen.
Motors Corp., 64 7 F.2d 175, 180-81 (D.C. Cir. 1980) (excluding dissimilar
testing); Rodriguez v. Hyundai Motor Co., 944 S.W.2d 757,767 (Tex. App. 1997)
(trial court properly excluded evidence of manufacturer’s drop test where trial
court found difference between accident and test in speeds and rolls of two cars,
the surfaces involved, and the damage sustained by the vehicles, concluding that
admitting the test evidence would create high possibility of misleading jury), rev’d
on other grounds, 995 S.W.2d 661 (Tex. 1999); Carillo v. Ford Motor Co., 759
N.E.2d 99, 107-08 (Ill. App. Ct. 2001) (affirmance of trial court decision to
exclude evidence of sled test where seat was strengthened so that it was stronger
than it normally was, and crash pulse and timing of sled test differed from actual
accident); Harsh v. Petrol, 840 A.2d 404, 419-23 (Pa. Commw. Ct. 2003)
(affirming trial court decision to exclude evidence of crash tests where tractor-
trailer involved in test was modified with a reinforced bumper and therefore
differed from tractor-trailer which collided with subject vehicle).

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dissimilar crash testing merely “illustrates general scientific principles.” It is

categorically untrue here—GM seeks to prove its defense with this litigation

testing from other cases. In addition, the testing that GM seeks to introduce is

substantively unrelated to the conditions of the subject wreck but appear to

replicate the type of crash at issue. As other courts have concluded, that renders

the ‘tests’ more prejudicial than probative.

       Finally the unrelated ‘tests’ will waste an enormous amount of time and

require mini-trials on the dissimilarities of the 37 non-SRX “tests.” Even the ‘tests’

that Exponent designed for this case do not resemble Veronica Fox’s wreck. One

can only imagine how many dissimilarities exist between ‘tests’ made to

demonstrate a different wreck altogether. In reality, there really is nothing “mini”

about litigating these differences—after all, Carhart produced more than 14,000

documents about these ‘tests.’ If the ‘tests’ are used at trial, Plaintiff will be forced

to explain to the jury why they should be disregarded. One would be hard-pressed

to imagine a bigger waste of the jury’s and the Court’s time. Therefore, all videos,

photos, and testimony about the ‘tests’ should be excluded.

III.   CONCLUSION

       For the reasons above, Plaintiff asks the Court to exclude all testing in

Carhart’s file, except the surrogate testing in the 2004 SRX.


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Respectfully submitted this 31st day of July, 2018.

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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rules 5.1B and 7.1D, I hereby certify that the foregoing

filing complies with the applicable font and size requirements and is formatted in

Times New Roman, 14-point font.



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                          CERTIFICATE OF SERVICE

      This is to certify that on July 31, 2018, I electronically filed with the Clerk

of the Court Plaintiff’s Daubert Motion to Exclude Portions of Michael Carhart’s

Proposed Testimony using the CM/ECF system which will automatically send

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